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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 THE LAW OFFICES OF ERICA T. YITZHAK
 AND ERICA T. YITZHAK, ESQ. P.C.,
                                                                        Case No.: 2:24-cv-03552

                           Petitioner,

         -against-

 TROY LAMBE, MAX DIVERSIFIED INC.,
 SUNRAY SOLAR INC., AND PAUL VERNER,

                            Respondents.
 ---------------------------------------------------------------X




                        MEMORANDUM OF LAW IN SUPPORT OF
                       TURNOVER OF FUNDS EARMARKED FOR
                         JUDGMENT DEBTORS IN ATTORNEY
                      IOLA ACCOUNT TO JUDGMENT CREDITORS




                                                      Respectfully submitted,

                                                      THE WEINSTEIN GROUP, P.C.
                                                      LLOYD J. WEINSTEIN, Esq.
                                                      6800 Jericho Turnpike, Suite 112W
                                                      Syosset, New York 11791
                                                      Telephone: 516-802-5330
                                                      Facsimile: 516-802-5332
                                                      ljw@theweinsteingroup.net
                                                      Attorneys for Petitioners




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                          PRELIMINARY STATEMENT

       This is a turnover proceeding, originally brought in New York State Court, in

 part, pursuant to CPLR §5225(b). Plaintiffs have a Judgment over Respondents/

 Judgment Debtors, Troy Lambe, Max Diversified, Inc. and Sunray Solar, Inc. Paul

 Verner is an attorney who represented/represents Judgment Debtors. In such

 capacity, Verner admitted he received funds on behalf of Lambe and made a partial

 distribution thereof. According to Paul Verner’s accounting and sworn declaration, he

 is holding the sum of $686,555.85 in his escrow or Attorney IOLA account.


                             VERNER’S ACCOUNTING

       Exceedingly reluctantly, Verner provided what he called an accounting of the

 funds that he received. On July 25, 2024, Verner provided a sworn declaration

 together with Exhibits A through K. This declaration and its exhibits are attached

 hereto as Exhibit 2. In summary, Verner confirms that he received $1,604,254.85 and

 distributed $917,699, leaving the sum of $686,555.85 in his Attorney IOLA account.

       Notably, in his Declaration dated July 25, 2024, Verner swears: “16. In

 summary, the Exhibits A – K show the receipt of the two settlement sums in 2016

 and 2018, the disbursements to the clients of net settlement proceeds after deducting

 my attorneys’ fees and the fact that the amounts left in my bank accounts were

 earmarked for defense costs in Yitzhak Defense Case and at least four other

 Lambe/Sunray defense cases.” Emphasis added.




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       Thus, according to the records that Paul Verner swears are accurate, the sum

 received was $1,604,254.85, he distributed $917,699, leaving the sum of $686,555.85

 in his Attorney IOLA account which “were earmarked” for the benefit of Judgment

 Debtor Lambe and Judgment Debtor Sunray.


                                 APPLICABLE LAW

       Plaintiffs as creditors have a superior interest in those funds and demand is

 made, pursuant to CPLR 5222, 5225 and/or 5227 for those funds to be delivered to

 Petitioner up to the Judgment amount of $1,664,577.36, plus statutory interest in the

 amount of nine (9) percent per annum, from June 13, 2023, on said Judgment.


              CPLR §5225(b) is applicable to this situation. It reads:
              Property not in the possession of judgment debtor.
              Upon a special proceeding commenced by the judgment
              creditor, against a person in possession or custody of money
              or other personal property in which the judgment debtor
              has an interest, or against a person who is a transferee of
              money or other personal property from the judgment
              debtor, where it is shown that the judgment debtor is
              entitled to the possession of such property or that the
              judgment creditor's rights to the property are superior to
              those of the transferee, the court shall require such person
              to pay the money, or so much of it as is sufficient to satisfy
              the judgment, to the judgment creditor and, if the amount
              to be so paid is insufficient to satisfy the judgment, to
              deliver any other personal property, or so much of it as is
              of sufficient value to satisfy the judgment, to a designated
              sheriff. Costs of the proceeding shall not be awarded
              against a person who did not dispute the judgment debtor's
              interest or right to possession. Notice of the proceeding
              shall also be served upon the judgment debtor in the same
              manner as a summons or by registered or certified mail,
              return receipt requested. The court may permit the
              judgment debtor to intervene in the proceeding. The court
              may permit any adverse claimant to intervene in the



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              proceeding and may determine his rights in accordance
              with section 5239.”

       Here, Petitioners have commenced a special proceeding against a person in

 custody or possession of money in which the judgment debtor has an interest. Verner

 removed the matter to the Eastern District.

       Verner’s accounting demonstrates that the sum of $686,555.85 remains in the

 escrow account. Verners Declaration confirms that his legal fees were paid, that there

 remains money in his Attorney IOLA account and that it was “earmarked” for the

 benefit of Judgment Debtors.

       “"CPLR 5225 (b) provides for an expedited special proceeding by a judgment

 creditor to recover 'money or other personal property' belonging to a judgment debtor

 'against a person in possession or custody of money or other personal property in

 which the judgment debtor has an interest' in order to satisfy a judgment" (Matter of

 Signature Bank v HSBC Bank USA, N.A., 67 AD3d 917, 918, 889 N.Y.S.2d 242 [2009]

 [citation omitted]). "According to the express language of CPLR 5225 (b), a judgment

 creditor must first establish that the judgment debtor has an interest in the property

 held by the third party, and then must demonstrate either that the judgment debtor

 is entitled to possess the property or that the judgment creditor has a right to the

 property superior to that of the party who possesses it" (Matter of Miraglia v Essex

 Ins. Co., 96 AD3d 945, 945, 947 N.Y.S.2d 138 [2012]; see Matter of Sirotkin v Jordan,

 LLC, 141 AD3d 670, 671, 35 N.Y.S.3d 443 [2016]).” Matter of Wells Fargo Vendor

 Fin. Servs., LLC v. JPMorgan Chase Bank, 229 A.D.3d 794 (2024).




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       “This action was commenced as a turnover proceeding pursuant to CPLR 5225

 (b), which provides: "Upon a special proceeding commenced by the judgment creditor,

 against a person in possession or custody of money . . . in which the judgment debtor

 has an interest, or against a person who is a transferee of money . . . from the

 judgment debtor, where it is shown that the judgment debtor is entitled to the

 possession of such property or that the judgment creditor's rights to the property are

 superior to those of the transferee, the court shall require such person to pay the

 money, or so much of it as is sufficient to satisfy the judgment, to the judgment

 creditor . . . ." (emphasis added). In the context of this turnover proceeding, we affirm

 that portion of the Supreme Court's order permitting petitioners' counsel to release

 $192,640.93 from escrow to satisfy the judgment entered against the LLC.” Matter of

 Lepatner Project Sols. LLC v. 320 W. 115 St., LLC, 2023 NY Slip Op 05987, ¶ 1, 221

 A.D.3d 506, 507, 198 N.Y.S.3d 348, 348-49 (App. Div.)

       As set forth above, Verner has already been paid his legal fees and there are

 funds in the Attorney IOLA account for the benefit of Judgment Debtors. Anticipating

 that Verner will attempt to argue that he is entitled to those excess funds as legal

 fees, the Court is referred to the matter of New York Commercial Bank f/k/a/ Long

 Island Commercial Bank v. Gorbrook Associates, Inc. Fishman and Litwin &

 Tierman, PA., 2015 N.Y. Misc. LEXIS 5546. In that matter, Plaintiff, Bank obtained

 a Judgment against Gorbrook Associates and others. Judgment debtor placed money

 in escrow with the Litwin & Tierman law firm. Attorneys at the law firm attempted




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 to argue they were entitled to some of the funds as legal fees. Citing CPLR §5225(b),

 the Court Ordered the law firm to turn over the funds in escrow.

       Here, Exhibit 1 demonstrates that Petitioners are Judgment Creditors over

 Troy Lambe, Max Diversified, Inc. and Sunray Solar, Inc. This addresses Petitioners’

 superior priority to funds which are of or for the Judgment Debtors. Exhibit 2 and

 its Exhibits demonstrate that Verner received $1,604,254.85 and distributed only

 $917,699, leaving the sum of $686,555.85 in his Attorney IOLA account.

       Given that all of the elements of CPLR 5225(b) have been established,

 Petitioners herein request an Order from this Court directing Respondent Verner to

 turnover forthwith the sum of $686,555.85 or such other amount as in the Attorney

 IOLA account of Respondent Verner in partial or whole satisfaction of the Judgment

 against Troy Lambe, Max Diversified, Inc. and Sunray Solar, Inc.



                                   CONCLUSION

       According to the records provided by Paul Verner, the total sum he received

 was $1,604,254.85 and he distributed $917,699. The records that he provided do not

 show any further distributions, leaving the sum of $686,555.85 in his Attorney IOLA

 account. Verner’s Declaration confirms those funds “were earmarked” for the benefit

 of Judgment Debtor Lambe and Judgment Debtor Sunray.

       Pursuant to CPLR 5225(b), Petitioners have a superior possessory interest in

 the identified funds in Verner’s Attorney IOLA account and respectfully demand that

 the sum of $686,555.85 be turned over to Petitioners forthwith or such other amount




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 as in the Attorney IOLA account of Respondent Verner in partial or whole satisfaction

 of the Judgment against Troy Lambe, Max Diversified, Inc. and Sunray Solar, Inc.


 Dated:       September 30, 2024
              Syosset, New York


                                        Respectfully submitted,

                                        THE WEINSTEIN GROUP, P.C.


                                        By:
                                        LLOYD J. WEINSTEIN, Esq.
                                        (Rule §130-1.1a) (NYS Tech Law §304(2))
                                        6800 Jericho Turnpike, Suite 112W
                                        Syosset, New York 11791
                                        Telephone: 516-802-5330
                                        Facsimile: 516-802-5332
                                        ljw@theweinsteingroup.net




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